 

 

Case 1:08-cv-00779-JRN Document1 Filed 10/17/08 Page 1 of 4

FILED

IN THE UNITED STATES DISTRICT COURT 288 0CT | 7

FOR THE WESTERN DISTRICT OF TEXAS. gy. PH 2:39

    
 

 

AUSTIN DIVISION WESTER Neg 5 S8uRy
by Le) TEX As
KAREN SELDERS, § a
§
§
Plaintiff, §
§
Vv §
§
§
SOUTHWEST KEY PROGRAM, INC §
§
Defendant. §
/

 

COMPLAINT

COMES NOW the Plaintiff, KAREN SELDERS, by and through her undersigned counsel,
and sues the Defendant, SOUTHWEST KEY PROGRAM, INC., and states as follows:
I. INTRODUCTION

1. Plaintiff brings this action for overtime compensation under the Fair Labor Standards
Act, as amended, 29 U.S.C. §216(b).
Il. PARTIES

2. Plaintiff, KAREN SELDER is an individual who resides in Travis County, Texas

3. Defendant, SOUTHWEST KEY PROGRAM, INC., is a non-corporation formed and
existing under the laws of the State of Texas and which operates and maintains its principal place of

business in Travis County, Texas.
 

 

Case 1:08-cv-00779-JRN Document1 Filed 10/17/08 Page 2 of 4

Il. JURISDICTION AND VENUE

4, Jurisdiction is conferred on this Court by Title 28 U.S.C. §1337 and by Title 29 U.S.C.
§216(b). At all time pertinent to this Complaint, Defendant was an enterprise engaged in interstate
commerce. At all times pertinent to this Complaint, Defendant regularly owned and operated
businesses engaged in commerce or in the production of goods for commerce as defined by §3(r) and
3(s) of the Act, 29 U.S.C. §203(r) and 203(s). Additionally, Plaintiff was individually engaged in
commerce and her work was essential to Defendant’s business.

5. Venue is proper in this district under 28 U.S.C. § 1391.
IV. STATEMENT OF FACTS

6. The Plaintiff has worked for Defendant since April 2007 as a case manager.

7. During one or more weeks of Plaintiff's employment, Plaintiff worked in excess of forty
(40) hours (“overtime hours”).

8. Defendant willfully failed to pay Plaintiff one and one-half times her regular rate of pay
for the overtime hours she worked.
Vv. | CAUSE OF ACTION - VIOLATION OF THE FAIR LABOR STANDARDS ACT

9. The acts described in the preceding paragraph violate the Fair Labor Standards Act,
which prohibits the denial of overtime compensation for hours worked in excess of forty (40) per

workweek.
Case 1:08-cv-00779-JRN Document1 Filed 10/17/08 Page 3 of 4

VI. DAMAGES

10. Asaresult of Defendant’s’ unlawful conduct, Plaintiff is entitled to actual and
compensatory damages, including the amount of overtime which was not paid and which should have
been paid.

11. Section 216(b) of the FLSA provides that any employer who violates the statute shall
be liable for unpaid overtime pay.

12. Plaintiff further seeks liquidated damages as a result of Defendant’s willful failure and
refusal to pay overtime in violation of Section 7 of the FLSA, 29 U.S.C. § 207.

13. Plaintiff also seeks compensation of the out of pocket expenses and costs of court she
will have incurred in this action. Plaintiff is also entitled to reasonable and necessary attorneys fees
under 29 U.S.C. § 216(b).

Vil. PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that:

1. The Court assume jurisdiction of this cause and that Defendant be cited to appear;

2. The Court award damages to Plaintiff as specified above with Defendant;

3. The Court award reasonable and necessary attorneys’ and expert fees and costs;

4, The Court award Plaintiff pre- and post-judgment interest at the highest rates allowed.

 
Case 1:08-cv-00779-JRN Document1 Filed 10/17/08 Page 4 of 4

Plaintiff further prays for any such other relief as the Court may find proper, whether at law or
in equity.

Respectfully submitted this | [Toes of October, 2008,

ROSS LAW.GROUP

1104 San Antonio Street
Austin, Texas 78701

(512) 474-7677 Telephone
65 474-5306 Facsimile

(AML fet

Ce L. SCALISE
ATTORNEYS FOR PLAINTIFF
